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             Attorneys for Plaintiff

                                IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON

                                            PORTLAND DIVISION

      DRY BULK SINGAPORE PTE. LTD.                 )
                                                   )
             Plaintiff,                            )
                                                   )        Case No.: 3:19-cv-1671
      V.                                           )
                                                   )        IN ADMIRAL TY
      Amis Integrity S.A. in personam and          )
      MN AMIS INTEGRITY (IMO 9732412)              )
      her engines, freights, apparel,              )
      appurtenances, tackle, etc., in rem,         )
                                                   )
             Defendant.


              ORDER DEPUTIZING CALEY KARRICK TO SERVE WAR OF ARREST
                          ONBEHALFOFTHEUSMARSHALL

             Upon the Motion of Plaintiff, DRY BULK SINGAPORE PTE. LTD., for to deputize Caley

      Karrick to serve the Warrant of Arrest issued by this Court on the vessel AMOS INTEGRITY, on

      behalf of the United States Marshal, and good cause appearing therefore, it is hereby:




                                                                                  SCHWABE, WILLIAMSON & WYATT, P.C.
Page 1 -   ORDER,                                                                           Attorneys at Law
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              ORDERED that Plaintiffs Motion is granted, and Caley Karrick is hereby deputized to

      serve the Warrant of Arrest issued by this Court on the MN AMIS INTEGRITY (IMO 9732412),

      on behalf of the US Marshall for the District of Oregon, and it is further

              ORDERED that Caley Karrick shall report the results of the arrest to the US Marshall for

      the District of Oregon and file a return of service with this Court following service of the Warrant

      of Arrest.
                                             ~
      SIGNED at Portland, Oregon this )   'i- day of October, 2019.




      Presented by:

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Page 3 -   ORDER ,                                                                           Attorneys at Law
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